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 9   Attorneys for Plaintiff and Counter-Defendant
     QUANTUM CORPORATION
10

11                              IN THE UNITED STATES DISTRICT COURT

12                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN FRANCISCO DIVISION

14   QUANTUM CORPORATION,                             Case No. 3:14-cv-04293-WHA
                                                       Order re:
15                 Plaintiff and Counter-Defendant,   JOINT STIPULATION TO DISMISS
                                                      WITH PREJUDICE
16          v.
                                                      Ctrm: 8 - 19th Floor
17   CROSSROADS SYSTEMS, INC.,                        Judge: Honorable William Alsup

18                 Defendant and Counter-Plaintiff.
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           Order re: JOINT STIPULATION TO DISMISS / CASE NO. 3:14-CV-04293-WHA
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 1          Plaintiff and Counter-Defendant Quantum Corporation and Defendant and Counter-Plaintiff

 2   Crossroads Systems, Inc. (“the Parties”), stipulate and agree as follows:

 3          WHEREAS the Parties have reached a binding settlement; therefore,

 4          IT IS HEREBY STIPULATED by and among the parties to this action through their counsel that

 5   the above-captioned action should be dismissed in its entirety with prejudice pursuant to Federal Rule of

 6   Civil Procedure 41(a)(1)(A)(ii).

 7          The Parties agree that they shall each bear their own costs, expert fees, attorneys’ fees and other

 8   fees incurred in connection with this matter.

 9          IT IS SO STIPULATED, through Counsel of Record.
10   Dated: December 15, 2015                            DURIE TANGRI LLP
11                                               By:                    /s/ Clement S. Roberts
                                                                       CLEMENT S. ROBERTS
12
                                                         Attorneys for Plaintiff and Counter-Defendant
13                                                       QUANTUM CORPORATION
14

15   Dated: December 15, 2015                            BLANK ROME LLP

16                                               By:                      /s/ Russell T. Wong
                                                                         RUSSELL T. WONG
17
                                                         Attorneys for Defendant and Counter-Plaintiff
18                                                       CROSSROADS SYSTEMS, INC.

19                                          FILER’S ATTESTATION
20          Pursuant to Civil L.R. 5-1(i)(3), regarding signatures, I, Clement S. Roberts attest that concurrence
21   in the filing of this document has been obtained.
22                                                                    /s/ Clement S. Roberts
                                                                     CLEMENT S. ROBERTS
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 1            PURSUANT TO STIPULATION, IT IS ORDERED that the forgoing Agreement is approved.
 2   Dated:      December 15, 2015
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 4                                                      HONORABLE WILLIAM ALSUP
                                                          United States District Judge
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          Order re: JOINT STIPULATION TO DISMISS / CASE NO. 3:14-CV-04293-WHA
